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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                  MEMORANDUM OPINION
                                                          AND ORDER
                                                    Crim. No. 10-187 (01) (MJD)
Amina Farah Ali,

      Defendant.
___________________________________________________________________________________

      Jeffrey S. Paulsen, Assistant United States Attorney, Counsel for Plaintiff.

      Amith R. Gupta, Counsel for Defendant.
______________________________________________________________________

      This matter is before the Court on Defendant’s Motion for Compassionate

Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. No. 327.)

I.    Background

      On October 20, 2011, a jury found Defendant guilty of Conspiracy to

Provide Material Support to a Foreign Terrorist Organization and multiple

counts of Providing Material Support to a Foreign Terrorist Organization. On

May 16, 2013, Defendant was sentenced to a total term of imprisonment of two

hundred and forty (240) months on all counts; 180 months on count 1, and 60

months on counts 2-13 to be served concurrently but consecutive to the sentence




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imposed for count 1. Defendant was also sentenced to a life term of supervised

release.

      Defendant is scheduled to be released from the custody of the Bureau of

Prisons (“BOP”) on November 25, 2029. She is currently confined at FCI Waseca.


      Defendant now moves the Court for an Order granting her compassionate

release.


II.   Motion to Reduce Sentence

      Pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may, upon a defendant’s

motion following exhaustion of administrative remedies or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier, “reduce the term of imprisonment (and may impose a term

of probation or supervised release with or without conditions that does not

exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that-- (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”




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       The applicable policy statement with respect to motions to reduce sentence

is set forth in U.S.S.G. Section 1B1.13, 1 which provides when deciding a motion

for a sentence reduction under § 3582(c), the Court must determine whether

extraordinary and compelling reasons exist to warrant such relief, whether the

defendant is a danger to the safety of any other person or to the community and

whether a sentence reduction is consistent with the policy statement. U.S.S.G. §

1B1.13. This policy statement also defines “extraordinary and compelling

reasons” to include the medical condition of the Defendant, age of the

Defendant, family circumstances or other extraordinary and compelling reasons.

       Section 1B1.13 defines “extraordinary and compelling reasons” due to

medical condition as follows:


       (ii) The defendant is—

               (I) suffering from a serious physical or medical condition,




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 At this time, U.S.S.G. Policy Statement § 1B1.13 only refers to motions for release brought by
the BOP under 18 U.S.C. § 3582(c)(1)(A). The Sentencing Commission has not had the
opportunity to amend § 1B1.13 to include motions brought by a defendant since the enactment
of the First Step Act. Regardless, this Court as well as other courts in this District and elsewhere
have construed § 1B1.13 to apply to motions brought by a defendant under § 3582(c)(1)(A). See
e.g., United States v. Warren, 456 F. Supp.3d 1083, 1085-1086 (D. Minn. 2020) (finding that part
of § 1B1.13 that states “Upon motion of the Director of the Bureau of Prisons” was superseded
by the First Step Act, and applying factors set forth in § 1B1.13 to motions brought by a
defendant under § 3582 (c)(1)(A)).


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             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

       that substantially diminishes the ability of the defendant to provide
       self-care within the environment of a correctional facility and from
       which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).


       There is no dispute that Defendant has exhausted her administrative

remedies. Accordingly, the Court will proceed to the merits of Defendant’s

motion.


III.   Discussion


       Defendant asserts that she suffers from serious medical conditions

that make her highly vulnerable to serious illness or death as a result of the

ongoing coronavirus epidemic. Defendant claims she has suffered from

tuberculosis since 1987, which resulted in damage to one of her lungs. In

addition, she tested positive for COVID-19 in October 2020, and now

experiences difficulty in breathing. Given her current medical condition,

Defendant claims she is vulnerable to serious complications or death if she

becomes reinfected from COVID-19.

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      The Court notes that at this time, it is not clear whether Defendant

could be reinfected with COVID-19. The CDC reports that “[c]ases of

reinfection with COVID-19 have been reported, but remain rare.”

https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection.html

(accessed on April 15, 2021).

      Defendant’s medical records from the BOP confirm that Defendant

tested positive for COVID-19 in late September 2020, and as of November

18, 2020, she was still experiencing a cough and sinus congestion. (Doc.

No. 333 at 30; Doc. No. 334 at 2.) In addition, her medical history reports

“LTBI [latent tuberculosis infection] Prophy Hx Prior to BOP

Incarceration” and that she took INH in 1987. (Id. at 12.)

      Courts have found that a defendant who suffers from latent

tuberculosis has demonstrated extraordinary and compelling reasons

warranting relief under § 3582, as those suffering from that condition are

subjected to a higher risk of severe illness if infected with COVID-19. See

United States v. Atwi, 455 F. Supp. 3d 426, 431 (E.D. Mich. 2020) (“[T]he

risks to someone with a co-infection of TB and COVID-19 ‘are readily

apparent,’ as both are respiratory diseases that affect the lungs.”); United



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States v. Johnson, Crim. No. H-96-176, 2020 WL 3618682, at *2 (S.D. Tex.

July 2, 2020) (recognizing that persons with latent tuberculosis increases

risk of serious complications if infected with COVID-19); United States v.

Burke, 4:17-CR-3089, 2020 WL 3000330, at *2 (D. Neb. June 4, 2020)

(“Research has yet to conclusively establish the risks associated with either

latent tuberculosis or brain injury, but the known pulmonary

comorbidities and symptoms of COVID-19 and increasing evidence of

vascular complications make those conditions relevant as well.”); United

States v. Alghaithi, No. CR-16-10430-002-TUC-JGZ (LCK), 2020 WL

6305485 (D. Ariz. Oct. 28, 2020) (same).

      The Court thus finds that Defendant has shown extraordinary and

compelling reasons due to her medical condition that warrants a reduction

to her sentence.

      The Court further finds that based on the record before it that

Defendant does not pose a danger to the community if released. The BOP

assigned Defendant a Minimum Risk Recidivism Level on November 7,

2019, and confirmed that designation on May 19, 2020. (Doc. No. 340.)




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While serving her sentence, Defendant has completed a number of

educational programs and has obtained her GED. (Doc. No. 330-1, Ex. D.)

      Further, the Court finds that a sentence reduction is supported by

the factors set forth in 18 U.S.C. § 3553(a). While the counts of conviction

are very serious in this case – providing material support to a foreign

terrorist organization - the Court nonetheless recognizes the support

provided here – approximately $15,000 and shipments of clothing - pales

in comparison to other terrorism financing cases in which defendants have

been released due to the pandemic.

      For example, a defendant convicted of conspiracy and sentenced to

five years in prison for providing tens of millions of dollars to Hezbollah, a

Lebanon-based terrorist group, was granted compassionate release after

serving less than one year of his sentence. United States v. Tajideen, 1:17-

cr-046 (D.D.C. May 28, 2020). See also United States v. El-Hanafi, 460

F.Supp.3d 502 (S.D.N.Y. 2020) (granting motion for compassionate release

to defendant convicted of conspiracy to provide material support to Al

Qaeda in the form of currency, monetary instruments, assistance in

computer matters and personnel and sentenced to 180 months); United



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States v. Hasanoff, 10-cr-162, 2020 WL 6285308 (S.D.N.Y. Oct. 27, 2020) (co-

defendant of El-Hanafi, convicted of conspiracy to provide material

support to Al Qaeda in the form of currency, monetary instruments,

assistance in computer matters and personnel and sentenced to 216

months, granted motion for compassionate release); United States v.

Hassoun, 10-cr-773, (N.D. Ill. July 3, 2020) (defendant convicted of

attempted use of a weapon of mass destruction and malicious attempt to

destroy or damage a building using an explosive device and sentenced to a

23 year prison term granted early release due to pandemic and fact he

would be deported upon release).

      Defendant has served nearly eight years of her sentence. A sentence

of time served in this case would reflect the seriousness of the offenses of

conviction, afford adequate deterrence to criminal conduct, promote

respect for the law and provide a just punishment.

      Accordingly,


      IT IS HEREBY ORDERED:

      1. Defendant’s Motion for Compassionate Release (Doc No. 327) is

         GRANTED;


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2. Defendant’s Sentence is reduced to TIME SERVED;

3. All other terms and conditions of this Court’s original sentence

   shall remain in full force and effect;

4. This order is stayed for up to fourteen days for the establishment of a

   release plan, to make appropriate travel arrangements, and to ensure

   the defendant’s safe release. The defendant shall be released as soon as

   a residence is verified, a release plan is established, appropriate travel

   arrangements are made, and it is safe for the defendant to travel. There

   shall be no delay in ensuring travel arrangements are made. If more

   than fourteen days are needed to make appropriate travel

   arrangements and ensure the defendant’s safe release, the parties shall

   immediately notify the court and show cause why the stay should be

   extended;

5. In addition to the conditions of supervised release previously imposed,

   the Court orders the following additional conditions:

      a. Defendant shall not possess or use a computer or have access to
         any on-line service without the prior approval of the U.S.
         Probation and Pretrial Services Office. Defendant’s cooperation
         shall include but not be limited to allowing installation of a
         computer and Internet monitoring program and/or identifying
         computer systems, Internet-capable devices, and similar memory


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          and electronic devices to which Defendant has access.
          Monitoring may include random examinations of computer
          systems along with Internet, electronic and media storage devices
          under Defendant’s control. The computer system or devices may
          be removed for a more thorough examination, if necessary.
          Defendant shall contribute to the cost of such monitoring
          services, based on Defendant’s ability to pay, as deemed
          appropriate by the U.S. Probation Office and Pretrial Services
          Office.
     b.   Defendant shall provide the probation officer access to any
          requested financial information, including credit reports, credit
          card bills, bank statements, and telephone bills.
     c.   Defendant shall not possess, view, access or otherwise use
          material that reflects extremist or terroristic views or as deemed
          to be inappropriate by the U.S. Probation Office.
     d.   Defendant shall participate in a mental health counseling
          program as approved by the probation officer. This program
          may include psychological/psychiatric counseling or treatment,
          family counseling, and mentor support.
     e.   Defendant shall submit to periodic polygraph testing at the
          direction of the probation officer as a means to ensure
          compliance with the requirements of supervision.
     f.   Defendant shall reside for a period of up to 90 days in a
          residential reentry center as approved by the probation officer
          and shall observe the rules of that facility.
     g.   Defendant shall participate in a location monitoring program for
          a period of 180 days. Defendant shall be monitored using global
          positioning system (GPS) technology. Defendant shall be
          monitored under the following restrictions:

          Defendant is restricted to her residence at all times except for
          employment; religious services; medical, substance abuse, or
          mental health treatment; court obligations; or discretionary leave
          activities as approved by the probation officer.




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               Defendant shall not be required to pay the costs of location
               monitoring.

Date: April 16, 2021

                                            s/Michael J. Davis
                                            Michael J. Davis
                                            United States District Court




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